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    Presentment Date and Time: January 23, 2013 at 12:00 p.m. (Prevailing Eastern Time)
            Objection Deadline: January 22, 2013 at 4:00 p.m. (Prevailing Eastern Time)

MORRISON & FOERSTER LLP
1290 Avenue of the Americas
New York, New York 10104
Telephone: (212) 468-8000
Facsimile: (212) 468-7900
Gary S. Lee
Todd Goren
Alexandra Steinberg Barrage

Counsel for the Debtors and
Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                           )
 In re:                                    )     Case No. 12-12020 (MG)
                                           )
 RESIDENTIAL CAPITAL, LLC, et al.,         )     Chapter 11
                                           )
                               Debtors.    )     Jointly Administered
                                           )

     NOTICE OF PRESENTMENT OF STIPULATION AND PROPOSED ORDER
    WITH RESPECT TO ENTRY INTO AN AMENDMENT TO ASSET PURCHASE
         AGREEMENT BY AND AMONG CERTAIN OF THE DEBTORS
                   AND BERKSHIRE HATHAWAY INC.

          PLEASE TAKE NOTICE that the undersigned will present the attached Stipulation and

Proposed Order With Respect to Entry Into an Amendment to Asset Purchase Agreement By and

Among Certain of the Debtors and Berkshire Hathaway Inc. (the “Stipulation and Order”) to the

Honorable Martin Glenn, United States Bankruptcy Judge, at the United States Bankruptcy Court

for the Southern District of New York (the “Bankruptcy Court”), Alexander Hamilton Custom

House, One Bowling Green, New York, NY 10004, Room 501, for signature on

January 23, 2013 at 12:00 p.m. (Prevailing Eastern Time).




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       PLEASE TAKE FURTHER NOTICE that objections, if any, to the Stipulation and

Order must be made in writing, conform to the Federal Rules of Bankruptcy Procedure, the

Local Bankruptcy Rules for the Southern District of New York, and the Notice, Case

Management, and Administrative Procedures approved by the Bankruptcy Court [Docket No.

141], be filed electronically by registered users of the Bankruptcy Court’s electronic case filing

system, and be served, so as to be received no later than January 22, 2013 at 4:00 p.m.

(Prevailing Eastern Time), upon (a) counsel for the Debtors, Morrison & Foerster LLP, 1290

Avenue of the Americas, New York, NY 10104 (Attn: Gary S. Lee, Todd M. Goren, and

Alexandra Steinberg Barrage); (b) the Office of the United States Trustee for the Southern

District of New York, 33 Whitehall Street, 21st Floor, New York, NY 10004 (Attn: Tracy Hope

Davis, Linda A. Riffkin, and Brian S. Masumoto); (c) the Office of the United States Attorney

General, U.S. Department of Justice, 950 Pennsylvania Avenue NW, Washington, DC

20530-0001 (Attn: U.S. Attorney General, Eric H. Holder, Jr.); (d) Office of the New York State

Attorney General, The Capitol, Albany, NY 12224-0341 (Attn: Nancy Lord & Enid N. Stuart);

(e) Office of the U.S. Attorney for the Southern District of New York, One St. Andrews Plaza,

New York, NY 10007 (Attn: Joseph N. Cordaro); (f) counsel for Ally Financial Inc.,

Kirkland & Ellis LLP, 153 East 53rd Street, New York, NY 10022 (Attn: Ray Schrock & Craig

A. Bruens); (g) counsel to Barclays Bank PLC, as administrative agent for the DIP lenders,

Skadden, Arps, Slate, Meagher & Flom LLP, Four Times Square, New York, NY 10036 (Attn:

Ken Ziman & Jonathan H. Hofer); (h) counsel for the committee of unsecured creditors, Kramer

Levin Naftalis & Frankel LLP, 1177 Avenue of the Americas, New York, NY 10036 (Attn:

Kenneth Eckstein & Greg Horowitz); (i) counsel for Berkshire Hathaway Inc.,

Munger Tolles & Olson LLP, 355 South Grand Avenue, Los Angeles, CA 90071 (Attn: Thomas




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Walper & Seth Goldman); (j) Internal Revenue Service, P.O. Box 7346, Philadelphia, PA

19101-7346 (if by overnight mail, to 2970 Market Street, Mail Stop 5-Q30.133, Philadelphia, PA

19104-5016); and (k) Securities and Exchange Commission, New York Regional Office,

3 World Financial Center, Suite 400, New York, NY 10281-1022 (Attn: George S. Canellos,

Regional Director).

       PLEASE TAKE FURTHER NOTICE that objections, if any, to the Stipulation and

Order, will be heard before the Honorable Martin Glenn, on January 29, 2013 at 10:00 a.m.

(Prevailing Eastern Time), at the United States Bankruptcy Court for the Southern District of

New York, Alexander Hamilton Custom House, One Bowling Green, Room 501, New York,

New York 10004. If no objections to the Stipulation and Order are timely filed, served, and

received in accordance with this Notice, the Court may enter the Stipulation and Order without

further notice or hearing.

Dated: January 15, 2013                       Respectfully submitted,
       New York, New York

                                              /s/ Gary S. Lee
                                              Gary S. Lee
                                              Todd M. Goren
                                              Alexandra Steinberg Barrage
                                              MORRISON & FOERSTER LLP
                                              1290 Avenue of the Americas
                                              New York, New York 10104
                                              Telephone: (212) 468-8000
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                                              Counsel for the Debtors and
                                              Debtors in Possession




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                              )
 In re:                                       )    Case No. 12-12020 (MG)
                                              )
 RESIDENTIAL CAPITAL, LLC, et al.,            )    Chapter 11
                                              )
                                Debtors.      )    Jointly Administered
                                              )


                                 STIPULATION AND ORDER

          Subject to the approval of the Court, this stipulation and order (the “Stipulation”) is

made and entered into by, between, and among the debtors and debtors in possession in the

above-captioned bankruptcy case (collectively, the “Debtors”) and Berkshire Hathaway Inc.

(“Berkshire”), in connection with the (i) Debtors’ Motion Pursuant to 11 U.S.C. §§ 105, 363(b),

(f), and (m), 365 and 1123, and Fed R. Bankr. P. 2002, 6004, 6006, and 9014 for Orders:

(I)(A) Authorizing and Approving Sale Procedures, Including Break-Up Fee and Expenses

Reimbursement; (II) Scheduling Bid Deadline and Sale Hearing; (III) Approving Form and

Manner of Notice Thereof; and (IV) Granting Related Relief and (B)(I) Authorizing the Sale of

Certain Assets Free and Clear of Liens, Claims, Encumbrances, and Other Interests;

(II) Authorizing and Approving Asset Purchase Agreements Thereto; (III) Approving the

Assumption and Assignment of Certain Executory Contracts and Unexpired Leases Related

Thereto; and (IV) Granting Related Relief [Docket No. # 61] (the “Sale Motion”) and (ii) Order

Under 11 U.S.C. §§ 105, 363, and 365 and Fed. R. Bankr. P. 2002, 6004, 6006, and 9014

(I) Approving (A) Sale of Debtors’ Assets Pursuant to Asset Purchase Agreement with Berkshire

Hathaway, Inc.; (B) Sale of Purchased Assets Free and Clear of Liens, Claims, Encumbrances,




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and Other Interests; and (C) Related Agreements; and (II) Granting Related Relief [Docket No.

2247] (the “Berkshire Sale Approval Order”).

       WHEREAS, venue of this proceeding and the Sale Motion in this District is proper

pursuant to 28 U.S.C. §§ 1408 and 1409;

       WHEREAS, subsequent to entry of the Berkshire Sale Approval Order, the Debtors and

Berkshire negotiated an amendment to the Berkshire APA, which amendment is attached hereto

as Ex. 1 (the “Amendment”);

       WHEREAS, if the Stipulation is not approved, a hearing on the Amendment will take

place before this Court on January 29, 2013 at 10:00 a.m. ET;

       NOW THEREFORE, it is hereby STIPULATED and AGREED by the Parties that:

       1.      This Stipulation shall be binding on the Debtors and Berkshire upon execution

and approval by this Court, and any prior agreements between or among the parties shall not in

any way alter, modify, or affect the terms of this Stipulation.

       2.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Stipulation.

       3.      Notwithstanding, anything herein to the contrary, this Stipulation shall not modify

or affect the terms and provisions of, nor the rights and obligations under, (a) the Board of

Governors of the Federal Reserve System Consent Order, dated April 13, 2011, by and among

AFI, Ally Bank, ResCap, GMACM, the Board of Governors of the Federal Reserve System, and

the Federal Deposit Insurance Corporation, (b) the consent judgment entered April 5, 2012 by

the United States District Court for the District of Columbia, dated February 9, 2012, and (c) the

Order of Assessment of a Civil Money Penalty Issued Upon Consent Pursuant to the Federal

Deposit Insurance Act, as amended, dated February 10, 2012. The foregoing sentence shall not

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 modify or amend the terms or provisions of, nor the rights and obligations, under the Berkshire

 APA and/or the Berkshire Sale Approval Order.

        4.      The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Stipulation.


Dated: January 15, 2013

/s/ Gary S. Lee
Gary S. Lee
Todd Goren
Alexandra Steinberg Barrage


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1290 Avenue of the Americas
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Counsel to the Debtors and
Debtors-in-Possession

Dated: January 15, 2013

/s/ Thomas Walper
Thomas Walper
Seth Goldman
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Facsimile: (213) 687-3702

Counsel for Berkshire Hathaway Inc.




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                                            IT IS SO ORDERED


New York, New York
Dated: __________, 2013

                                      ____________________________________
                                      HONORABLE MARTIN GLENN
                                      UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit 1

                           EXECUTED AMENDMENT




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